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                                UNITED STATES DISTRICT COURT.                               fHJ:D
                                 EASTERN DISTRICT OF MISSOURI
                                                                                         JUN    =   6 2019
                                      EASTERN DIVISION                                               f
                                                                                        U.S. DISTRICT COURT
                                                                                      EASTERN DISTRICT OF MO
UNITED STATES OF AMERICA,                              )                                   . ST. LOUIS
                                                       )
                         Plaintiff,                    )
                                                       )       No.
v.                                                     )

RONALD COLE, JR.,
                                                       )
                                                       )
                                                               4:19CR00421 ERW/N'AB
                                                       )
                         Defendant.                    )

                                           INDICTMENT

                                            COUNT ONE

The Grand Jury charges that:

       On or about May 4, 2019, in St. Louis County, within the Eastern District of Missouri,

                                       RONALD COLE, JR.,

the Defendant herein, knowingly possessed a firearm, knowing he had previously been convicted in a

court of law of one or more crimes punishable by a term of imprisonment exceeding one year, and the

firearm previously traveled in interstate or foreign commerce during or prior to being in defendant's

possess10n.

        In violation of Title 18, United States Code, Section 922(g)(l).


                                                               A TRUE BILL


                                                               FOREPERSON

JEFFREY B. JENSEN
United States Attorney



J. CHRISTIAN GOEKE, #39462MO
Assistant United States Attorney
